              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
                                 )
UNITED STATES OF AMERICA,        )
          Plaintiff,             )
                                 )
V.                               )     Case No. 12-00291-CR-W-GAF
                                 )
                                 )
VICTOR VICKERS                   )
          Defendant.             )


                                      MOTION IN LIMINE

       COMES NOW, Victor Vickers, Defendant, by and through his undersigned Attorney of

Record, William David Langston of Langston Law, Chartered, and moves this Honorable Court

for Its Order granting Defendant’s Motion in Limine. In support of Defendant’s motion the

following is offered:

       1.      Defendant was charged with Murder in the Jackson County Circuit Court in Case

               No. 1116-CR-03744-01;

       2.      The alleged victim of the murder was Edward Ewing;

       3.      Edward Ewing is not a co-conspirator in the instant case;

       4.      The details of the alleged murder are graphic and gruesome;

       5.      The introduction of evidence of the murder charge against Defendant in this case

               would serve no probative purpose and would only serve to prejudice and inflame

               the emotions of the jurors in the instant case;

       6.      This request is not made for undo delay or vexatious reasons;

       7.      The Interest’s of Justice will be served by granting this continuance.




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       WHEREFORE, Defendant prays this Honorable Court issue its Order granting

Defendant’s Motion in Limine..



                                             Respectfully Submitted,

                                             /s/ William David Langston
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                                             ATTORNEY FOR DEFENDANT


         I hereby certify that on August 11, 2014, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to the Assistant United States Attorney.

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